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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                  __________ Districtof
                                                                      ofIndiana
                                                                         __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                                                                    )                 1:20-mj-0655
               THOMAS JAMES ISRAEL II,                              )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 1, 2019 - June 17, 2020 in the county of                               Marion            in the
     Southern          District of             Indiana          , the defendant(s) violated:

            Code Section                                                     Offense Description
Count 1: 18 U.S.C. § 2251(a) and                 Sexual Exploitation of a Child / Attempted Sexual Exploitation of a Child
(e)




         This criminal complaint is based on these facts:
See attached affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                                   s/ Darin Odier
                                                                                               Complainant’s signature

                                                                                               Darin Odier, TFO FBI
                                                                                                Printed name and title

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       WHOHSKRQH                  UHOLDEOHHOHFWURQLFPHDQV

Date:     Aug. 4, 2020
                                                                                                  Judge’s signature
                                                                              _______________________________
City and state:                          Indianapolis, IN                           Tim
                                                                               Tim A.    A. Baker, U.S. Magistrate Judge
                                                                                      Baker
                                                                               United States Magistrate  Judge
                                                                                               Printed name and title
                                                                               Southern District of Indiana
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              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Darin Odier, being duly sworn, hereby depose and state as follows:

         1. Affiant: I am a Detective in the Cybercrime Unit of the Indianapolis

Metropolitan Police Department (IMPD). I am also a cross-designated Task Force

officer assigned to the FBI’s Indianapolis Violent Crimes Against Children Task

Force.

         2. Experience: I have over 31 years of law enforcement experience. I

have investigated State and Federal criminal violations related to high technology

or cybercrime, child exploitation, and child pornography. I have written numerous

search warrants involving internet crimes against children cases and participated

in their execution.

         3. Training:    I have attended and presented at the National Crimes

Against Children Conference multiple times and attended numerous classes

related to investigating the online sexual exploitation of children. I am also a

member of the Indiana Internet Crimes Against Children Task Force, which

includes federal, state, and local law enforcement agencies.        I am currently

assigned to operate in an undercover capacity on the internet to identify and

investigate persons attempting to exploit or solicit sexual acts with children or

trafficking in child pornography. As a Task Force Officer, I am authorized to

investigate violations of the laws of the United States and to execute warrants

issued under the authority of the United States.




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      4. Information provided: The statements in this affidavit are based on

information obtained from my observations and communications, as well as

information learned from other law enforcement officers and witnesses. Because

this affidavit is being submitted for the limited purpose of securing an arrest

warrant and criminal complaint, I have not included each and every fact known to

the investigators concerning this investigation. I have set forth only the facts that

I believe are necessary to establish probable cause that Thomas James Israel II

committed a criminal offense.

      5. Probable Cause: For the reasons listed below, there is probable cause

to believe that Thomas James Israel II, DOB xx-xx-1976 (known to Affiant, but

redacted) has committed the following offenses in the Southern District of Indiana

and elsewhere:

      A. Count 1: Sexual Exploitation of a Child / Attempted Sexual

Exploitation of a Child: On or between December 1, 2019, and on or about June

17, 2020, within the Southern District of Indiana, in the Indianapolis area, Thomas

James Israel II sexually exploited Minor Victim 1 a child less than 18 years of age,

by using Minor Victim 1 to create a visual depiction of Minor Victim 1 engaged in

sexually explicit conduct, using materials that travelled in interstate or foreign

commerce, in violation of 18 U.S.C. § 2251(a) and (e);

      6. Statutory authority:

      A. Sexual Exploitation of a Child and Attempt (18 U.S.C. § 2251(a)

and (e)): This statute provides that “Any person who employs, uses, persuades,



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induces, entices, or coerces any minor to engage in, or who has a minor assist any

other person to engage in, or who transports any minor in or affecting interstate

or foreign commerce, or in any Territory or Possession of the United States, with

the intent that such minor engage in, any sexually explicit conduct for the purpose

of producing any visual depiction of such conduct or for the purpose of transmitting

a live visual depiction of such conduct, shall be punished as provided under

subsection (e), if such person knows or has reason to know that such visual

depiction will be transported or transmitted using any means or facility of

interstate or foreign commerce or in or affecting interstate or foreign commerce or

mailed, if that visual depiction was produced or transmitted using materials that

have been mailed, shipped, or transported in or affecting interstate or foreign

commerce by any means, including by computer, or if such visual depiction has

actually been transported or transmitted using any means or facility of interstate

or foreign commerce or in or affecting interstate or foreign commerce or mailed.” It

is also a crime to attempt to sexually exploit a child. 18 U.S.C. § 2251(e).

      7. Definitions: The following definitions apply to this Affidavit:

      A. The term “minor,” as defined in 18 U.S.C. § 2256(1), refers to any person

under the age of eighteen years.

      B. The term “sexually explicit conduct,” 18 U.S.C. § 2256(2)(A)(i-v), is

defined as actual or simulated (a) sexual intercourse, including genital-genital,

oral-genital, anal-genital, or oral-anal, whether between persons of the same or

opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or



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  (e) lascivious exhibition of the genitals or pubic areas of any person.

           C. The term “visual depiction,” as defined in 18 U.S.C. § 2256(5), includes

  undeveloped film and videotape, data stored on computer disc or other electronic

  means which is capable of conversion into a visual image, and data which is

  capable of conversion into a visual image that has been transmitted by any means,

  whether or not stored in a permanent format.

      8.      Investigation of Thomas James Israel II:            On June 18, 2020,

Detective Darin Odier an FBI Task Force Officer and Indiana ICAC Task Force officer

observed a child forensic interview of a minor child victim (MV1).

      9.      MV1 resides in the Southern District of Indiana, and was born in 2005.

      10.     During the forensic interview, MV1 disclosed that she has met several

adult males online on the Omegle, Kik and Snapchat apps. MV1 stated that Snapchat

was the primary method of communication with these men and that multiple men,

on multiple occasions asked MV1 for sexually explicit images of MV1. On multiple

occasions, MV1 produced sexually explicit images and/or videos and sent them to

them, via snapchat.

      11.     According to MV1, in early 2020, MV1 began sneaking out of her

residence and meeting in person the adult males that she had met online. According

to MV1, the adult males would pick her up down the street from her residence and

drive to a parking lot and engage in sexually explicit conduct with MV1. This occurred

on multiple occasions with at least 4 different men. All of these meetings and sexually

explicit conduct occurred in the Southern District of Indiana.



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      12.    MV1 provided the forensic interviewer first names and other

information about the adult males she’s met in person to engage in sexually explicit

conduct.

      13.    MV1 also disclosed that one of the men used his cell phone to record the

sexually explicit conduct between the adult male and MV1 in his vehicle. According

to MV1, later, the adult male sent the video to MV1 via Kik.         MV1 described the

male as “James” who a white male, 43 and from Ft Wayne. MV1 said that she met

“James” on at least two occasions in person. “James” was later identified by the

means and methods set forth below as Thomas James Israel II (“ISRAEL”).

      14.    This affiant was provided a Chromebook that was used by MV1 to

communicate with the adult males. Law enforcement was also given consent to

access the device and the online accounts used by MV1 to retrieve evidence and

attempt to identify adult male suspects.

      15.    A preliminary forensic examination found a video of MV1 engaging in

sexually explicit conduct with an adult male that matched the description of the video

described by MV1 in paragraph 13. This adult male was later identified as ISRAEL.

During the video, ISRAEL’s face is briefly visible and his voice can be clearly heard

berating and directing MV1 to engage in sexual activity and engage in

sadomasochistic behavior. ISRAEL’s penis is clearly visible in the video.

      16.    Based on MV1’s description, I believe that the adult male is “James” as

described by MV1.

      17.    The interior of the vehicle is also briefly visible in the video.



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      18.    Additionally, during the examination of MV1’s Chromebook and online

accounts, officers discovered a screen shot of a Kik conversation between MV1 and a

person using Kik screen name “Mister Mister” in which the user admits to having sex

with MV1 and knowing she is a minor child.

      19.    On July 7, 2020, this affiant met with MV1 and asked her about the

“Mister Mister” Kik user. MV1 showed this affiant the Kik profile for Mister Mister.

The account has a username of MrMister2013. MV1 further disclosed that person

using MrMister2013 is the adult male “James” she described in paragraph 13 who

recorded the sexually explicit conduct with MV1 in his vehicle.

      20.    This affiant requested and received a search warrant to Kik, c/o

MediaLab.ai Inc for the account with username MrMister2013. The warrant was

issued in Marion Superior Court on July 7, 2020.

      21.    On July 13, 2020 this affiant received a response return from Kik. The

subscriber information for Kik username MrMister2013 lists an email address of

reluctantprophet@hotmail.com and log-in IP addresses.

      22.    Law enforcement ran the email address through a commercially

available database and results showed reluctantprophet@hotmail.com was associated

with Thomas James Israel II, W/M 44, with an address in Ft Wayne, Indiana.

      23.    This affiant reviewed a BMV image of ISRAEL and believes he is the

male in the video engaged in sexually explicit conduct with MV1. I have compared a

photograph of ISRAEL to the video itself and believe it to be the same person.

      24.    This affiant requested and received an administrative subpoena to



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Frontier Communications for a June 4, 2020 log-in IP address from the Kik account

MrMister2013. The return showed that the IP address was assigned to Thomas

Israel, xxxx Hillside Ave. Fort Wayne, IN 46805 (address redacted but known to this

Affiant). The account is still active.

       25.    A BMV search shows that ISRAEL has a 2012 Lexus, Indiana plate

261RDC, registered in his name. On July 23, 2020 a law enforcement officer drove by

xxxx Hillside Ave. Fort Wayne (address redacted but known to this Affiant), IN 46805

and observed the Lexus in the driveway

       26.    On July 30, 2020, this Affiant obtained a search warrant in the Marion

County Superior Court, authorizing the search of a vehicle, the residence xxxx

Hillside Ave (address redacted but known to this Affiant) and the person of Thomas

James Israel II.

       27.    On August 3, 2020, this Affiant and assisting officers with the Indiana

Crimes Against Children task force executed the search warrants. Thomas James

Israel II was located on the property of xxxx Hillside Ave (address redacted but

known to this Affiant).

       28.    In an interview recorded with audio and video, this Affiant read

ISRAEL his Miranda rights, which ISRAEL acknowledged understanding. During

the interview, ISRAEL admitted to having used Kik in the past, and further

admitted to being the user of the E-mail address reluctantprophet@hotmail.com.

       29.    Further, when I asked ISRAEL about the username “MrMister2013,”

ISRAEL said words to the effect that he may have used that username at some point



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in the past. When this affiant asked ISRAEL about his sexual contact with MV1,

using MV1’s first name, ISRAEL said words to the effect that he “didn’t know

anybody by that name.” After showing ISRAEL screen shots between MV1 and

MrMister2013, including the conversation during which the user acknowledged

knowing that MV1 was a minor when they had sexual contact, ISRAEL asked to

speak to a lawyer.

      30.    While on-scene, this affiant was able to observe ISRAEL and clearly

hear him speak. Based on ISRAEL’s appearance and voice, this affiant believes

Thomas James Israel II is the adult male engaged in sexually explicit conduct with

MV1 in the above described video.

      31.    Forensic triage: A preliminary triage and examination of multiple

digital devices recovered seized began on-scene and is ongoing.

      A.     Conclusions: Based on the foregoing, I believe that Thomas James

Israel II used MV1 to engage in sexually explicit conduct for the purpose of creating

a visual depiction of MV1 engaged in the conduct. This Affiant recognized MV1 from

the video and I have personally met her. I recognize ISRAEL in the visual depiction

and based on my own observations of his physical appearance as well as his voice as

described above.

      32.    Interstate and Foreign Commerce:              ISRAEL used Kik to

communicate with MV1. Kik is a Messaging service which uses the Internet, a means

and facility of interstate and foreign commerce. The visual depiction of MV1 was

produced and distributed using devices that were not manufactured or contain parts



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   that were not manufactured in the State of Indiana, and, therefore, travelled in

   interstate and foreign commerce.

          33.   Venue: MV1 is a resident of the Southern District of Indiana. Thomas

   James Israel II engaged in sexually explicit conduct with MV1, produced a visual

   depiction of this conduct while in the Southern District of Indiana, and distributed

   the visual depiction of the conduct to MV1 in the Southern District of Indiana.

          34.   Conclusion Based upon the contents of this Affidavit, there is probable

   cause to believe that Thomas James Israel II has committed the above listed

   offense. I respectfully request that the Court issue a Criminal Complaint and Arrest

   Warrant for Thomas James Israel II charging him with the offense listed above.




                                                    s/ Darin Odier
                                          ________________________________
                                          Task Force Officer Darin Odier
                                          Federal Bureau of Investigation



   Attested to by the applicant in accordance with the

   requirements of Fed. Crim. P. 4.1 by telephone.


Dated: August 4, 2020


                                _______________________________
                                 Tim A. Baker
                                 United States Magistrate Judge
                                 Southern District of Indiana




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